Case 9:18-cv-80176-BB Document 83-6 Entered on FLSD Docket 01/14/2019 Page 1 of 3




                    EXHIBIT 6
        Case
2/14/2018      9:18-cv-80176-BB Document 83-6 Entered
                                              Gmail - Fwd:on
                                                          Re: FLSD
                                                              Dave Docket 01/14/2019 Page 2 of 3




  Fwd: Re: Dave
                                @gmail.com>



    ---------- Forwarded message ----------
    From: Craig Wright <craig@rcjbr.org>
    Date: Sat, Feb 15, 2014 at 9:15 PM
    Subject: RE: Re: Dave
    To: Ira K



    If Patrick can do it, that would be good.



    I do not know what was going on with Dave at the end and I had no idea he had any troubles ﬁnancially. He never
    shared that and I would have helped him with anything. A year ago, liquidity and other issues made spending Bitcoin
    diﬃcult. There are s ll issues.



    Dave owned 50% of a US company that controlled a Belize based trust. I have a ached a li le more of what we did
    together. We had several DHS research programs.



    These projects are listed below and the R&D conducted here is a part of these as well:

    TTA 01 - Software Assurance                                         $650,000                       Software assurance through
    economic measures

    TTA 14 - Software Assurance MarketPlace (SWAMP)               $1,200,000                     Software derivative markets &
    Information Security risk markets

    TTA 05 - Secure, Resilient Systems and Networks                $1,800,000                     SCADA Isolation

    TTA 09 - Cyber Economics                                              $2,200,000                     Risk Quantification



    These are the types of research projects Dave was involved with.



    We used the Dept of Homeland Security and Australian government for base research funding on some of it.



    Nobody involved with this wants to ever (even a er death be known). The myth is more powerful than all of us
    combined. I want Dave’s family to know, but please understand, he would not have wanted the world knowing.



    I am a moody, grumpy bastard who loved Dave as he was one of the few people who would give me the me of day,
    let alone be as much of a friend as he is. When you start looking through all of this, it starts to become more like the
https://mail.google.com/mail/?ui=2&ik=ccbe4c253f&jsver=eqR4NK8aFo8.en.&view=pt&msg=161926fd2f9f3f37&search=inbox&siml=161926fd2f9f3f37   1/2
        Case
2/14/2018      9:18-cv-80176-BB Document 83-6 Entered
                                              Gmail - Fwd:on
                                                          Re: FLSD
                                                              Dave Docket 01/14/2019 Page 3 of 3
    Bond movie.



    If the DHS and others had known what we were doing, they would have stopped it early. If others (public) know the
    DHS funded the research, it will be a huge problem.



    The myth is a part of Dave’s legacy.



    …

    Dr. Craig Wright LLM GSE GSM GSC MMiT MNSA MInfoSec CISSP/ISSMP CISM CISA


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    http://www.rcjbr.org

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        cid:image003.jpg@01CCA14C.26B11E30




     3 attachments
         A preamble into aligning Systems engineering and Information security ri....pdf
         1027K
         Safecomp2011.pdf
         549K
         W&K Info Defense Research LLC - 08.pdf
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